Case 14-07006-acs              Doc 39      Filed 06/15/15 Entered 06/24/15 08:37:44               Desc Main
                                           Document     Page 1 of 3



                                 UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF KENTUCKY
                                        LEXINGTON DIVISION


In re:                                                                   )    CASE NO. 12-70013
                                                                         )
BRENDA KAY BROWN                                                         )    CHAPTER 7
                                                                         )
                                      Debtor                             )    Judge Alan Stout
                                                                         )
                                                                         )
JAMES R WESTENHOEFER TRUSTEE FOR THE                                     )
CHAPTER 7 BANKRUPTCY ESTATE OF BRENDA                                    )
KAY BROWN                                                                )
                                                                         )
                                      Plaintiff                          )    Adv. Pro. No. 14-07006
                                                                         )
                                                                         )
v.                                                                       )
                                                                         )
WHITEFORD TAYLOR PRESTON, LLP                                            )
                                                                         )
                                      Defendant                          )


                      ORDER AND JUDGMENT APPROVING SETTLEMENT
                     AGREEMENT PURSUANT TO BANKRUPTCY RULE 9019

           This matter coming before the court on the Joint Motion to Approve Settlement

Agreement Pursuant to Bankruptcy Rule 9019 (the “Motion”) seeking approval of an agreement

between the Trustee, 1 Brown Parties and Whiteford Taylor Preston (collectively, “Parties”) to

compromise all claims between the Parties, enter a judgment in this action, and resolve the PSB

AP.

           Based upon the Motion, the record before the Court, and it appearing that the legal and

factual basis set forth in the Motion establish just cause for relief granted herein; that the

elements of Rule 9019 for approval of a Settlement Agreement have been met; that due and


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    Capitalized terms not defined herein shall have the meaning ascribed to them in the Motion.
Case 14-07006-acs        Doc 39    Filed 06/15/15 Entered 06/24/15 08:37:44              Desc Main
                                   Document     Page 2 of 3



proper notice of the Motion having been provided and it appearing that no other or further notice

need be provided; that the relief sought in the Motion is in the best interests of the Estate and all

involved parties; that any objections to the relief requested herein having been withdrawn or

overruled on the merits; and after due deliberation and sufficient cause appearing therefore; it is

hereby ORDERED THAT:

       1.      The Motion is GRANTED IN ALL RESPECTS;


       2.      The Parties are authorized, directed, and ordered to perform all of their respective

obligations according to the Motion;


       3.      The Trustee is hereby awarded a judgment against in the amount of $50,000.00 to

be paid within 60 days from the entry of this Judgment and Order. The Trustee shall take no

action to enforce this Agreed Judgment as long as each of the above payments are timely made,

and shall promptly file a satisfaction of judgment and notice of dismissal of this action, with

prejudice, once both payments are made.


       4.      The terms and conditions of this Judgment and Order shall be immediately

effective and enforceable upon its entry.


       5.      The Bankruptcy Court retains jurisdiction with respect to all matters arising from

or related to the interpretation and implementation of this Judgment and Order.


       6.      This is a final judgment.


Tendered by; Agreed to; To be entered:

/s/ J. Thomas Rawlings
J. Thomas Rawlings
Donald M. Wakefield
                                                             Dated: June 15, 2015


                                                 2
Case 14-07006-acs      Doc 39    Filed 06/15/15 Entered 06/24/15 08:37:44   Desc Main
                                 Document     Page 3 of 3



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